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                  EXHIBIT B-117
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                        IN THE SUPERIOR COURT OF FULTON COUNTY r;::;;-;:::::::-7:"7'~---
                                                                                         FILEO IN OFFICE
                                          STATE OF GEORGIA
                                                                                              OCT
     INRE:                                         )
     SPECIAL PURPOSE GRAND JURY                    )       2022-EX-000024
                                                   )
     Witness:                                      )       Judge Robert C. I. McBurney
     Stephen Cliffgard Lee                         )


          PETITION FOR CERTIFICATION OF NEED FOR TESTIMONY BEFORE
         SPECIAL PURPOSE GRAND JURY PURSUANT TO THE UNIFORM ACT TO
        SECURE THE ATTENDANCE OF WITNESSES FROM WITHOUT THE STATE,
          CODIFIED IN THE STATE OF GEORGIA AS O.C.G.A. § 24-13-90 ET SEQ.

            COMES NOW the State of Georgia, by and through Fani T. Willis, District Attorney,

     Atlanta Judicial Circuit, Fulton County, Georgia, and petitions this Honorable Court for a

     Certificate of Need for Testimony Before Special Purpose Grand Jury, pursuant to O.C.G.A. §

     24-13-92 et seq., and in support thereof says as follows:

            1. A Special Purpose Grand Jury investigation·commenced in Fulton County, Georgia,

                by order of this court on May 2, 2022. See Order Impaneling Special Purpose Grand

                Jury Pursuant to O.C.G.A. § 15-12-100, Et Seq, "Exhibit A". The Special Purpose

                Grand Jury is authorized to investigate any and all facts and circumstances relating

                directly or indirectly to possible attempts to disrupt the lawful administration of the

                2020 elections in the State of Georgia. See Letter Requesting Special Purpose Grand

                Jury, "Exhibit B".

            2. While Georgia law authorizes special purpose grand juries to conduct both civil and

                criminal investigations, the Special Purpose Grand Jury's investigation is criminal in

                nature in that it was requested for the purpose of investigating criminal disruptions

                related to the 2020 elections in Georgia, and the Special Purpose Grand Jury is
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    authorized to make recommendations concerning criminal prosecution. Further, the

    authority for a special purpose grand jury to conduct a criminal investigation has been

    upheld by the Supreme Court of Georgia. See State v. Lampl, 296 Ga. 892 (2015).

    Accordingly, the provisions of the Uniform Act to Secure the Attendance of

    Witnesses from Without the State apply pursuant to O.C.G.A. § 24-13-92 et seq.

 3. Stephen Cliffgard Lee, born October 25, 1952, (hereinafter, "the Witness") is a

    necessary and material witness to the Special Purpose Grand Jury's investigation.

    Through both its investigation and through publicly available information, the State

    has learned the following information.

 4. On or about December 21, 2021, Willie Lewis Floyd III, also known as Harrison

    William Prescott Floyd III, a former director of Black Voices for Trump, stated to

    Reuters that he was asked by a man described as a chaplain with federal law

    enforcement connections, to arrange a meeting with Ruby Freeman, a Fulton County

    election worker who had been publicly accused of committing election fraud by

    individuals known to be associated with the Trump Campaign. According to Floyd,

    the purpose of the meeting was to discuss a purported "immunity deal" with Freeman.

    Floyd then arranged for Trevian Kutti, a purported publicist based in Chicago,

    Illinois, to meet with Freeman.

 5. On January 4, 2021, Kutti stated to Freeman via telephone that "an armed squad of

    federal" officers would "approach" Freeman and her family within 48 hours and that

    Kutti had access to "very high-profile people that can make particular things happen

    ... in order to defend yourself and your family." Kutti and Freeman then met at a

    Cobb County Police Department precinct, where Kutti made similar statements,
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    indicating to Freeman that her "freedom ... and the freedom of one or more of your

    family members" would be disrupted if Freeman declined her assistance and that

    Freeman was "a loose end for a party that needs to tidy up." Kutti also stated her

    intent to connect Freeman with Floyd, referring to him as "a Black progressive crisis

    manager, very high level, with authoritative powers to get you protection that you

    need." After making these statements, Kutti made a lengthy telephone call to Floyd

    on speakerphone so that he could join the conversation with Freeman. During the

    course of the telephone conversation, in the presence of Floyd, Freeman was

    pressured to reveal information under the threat of incarceration if she did not

    comply. All of these statements were captured on police body worn camera footage

    reviewed by the District Attorney.

 6. Based on information received by the District Attorney through collateral interviews,

    the Witness was identified as the person responsible for asking Floyd to arrange the

    meeting with Freeman in order to facilitate these conversations.

 7. The District Attorney has reviewed documents obtained by the Special Purpose

    Grand Jury that demonstrate that the Witness personally spoke to both Floyd and

    Kutti multiple times via telephone between January 4, 2021, and January 5, 2021.

    This information corroborates the information received through collateral interviews

    identifying the Witess as the person responsible for asking Floyd to arrange the

    meeting with Freeman.

 8. The District Attorney has also reviewed police body worn camera footage from

    December 15, 2020, which shows that the Witness personally came to Freeman's

    home in Cobb County, Georgia, which frightened her and caused her to call 911
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    approximately three times for police assistance. In the footage, the Witness admitted

    that he knocked on the door of Freeman's home in order to provide "pro bona

    service" to her, then left for a short period of time, and returned sometime later which

    prompted Freeman to call 911.

 9. The Witness, based on the information set forth above, is a necessary and material

    witness. The Witness possesses unique knowledge concerning communications

    between himself and other known and unknown individuals involved in the multi-

    state, coordinated efforts to influence the results of the November 2020 election in

    Georgia and elsewhere. Finally, the Witness's anticipated testimony is essential in

    that it is likely to reveal additional sources of information regarding the subject of this

    investigation.

 10. The testimony of the Witness will not be cumulative of any other evidence in this

    matter.

 11. The Witness resides outside the jurisdiction of this Honorable Court and is therefore

    unable to be served with process to compel attendance and testimony.

 12. The Witness currently resides in Yorkville, Kendall County, Illinois.

 13. The Witness will be required to be in attendance and testify before the Special

    Purpose Grand Jury on Thursday, November 10, 2022, at 9:00 a.m. The District

    Attorney reasonably anticipates that the Witness's testimony will not exceed one day.

 14. The Office of the Fulton County District Attorney, in and for the State of Georgia,

    will pay all reasonable and necessary travel expenses and witness fees required to

    secure the Witness's attendance and testimony, in accordance with the Uniform Act
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    to Secure the Attendance of Witnesses from Without a State in Criminal Proceedings.

    See O.C.G.A. §24-13-90 et seq.

 15. If the Witness comes into the State of Georgia pursuant to this request, directing the

    Witness to attend and testify before the Special Purpose Grand Jury, the laws of this

    State shall give the Witness protection from arrest and from service of civil or

    criminal process, both within this State and in any other state through which the

    Witness may be required to pass in the ordinary course of travel, for any matters

    which arose before the Witness's entrance into this State and other states.

 16. Both Georgia and Illinois have adopted the Uniform Act to Secure the Attendance of

    Witnesses from Without a State in Criminal Proceedings. See O.C.G.A. § 24-13-90;

    725 ILCS 220/1 et seq.
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       WHEREFORE, the State of Georgia, by and through Fani T. Willis, District Attorney,

Atlanta Judicial Circuit, Fulton County, Georgia, prays that this Honorable Court issue a

Certificate of Need for Testimony Before Special Purpose Grand Jury, pursuant to O.C.G.A. § 24-

13-92 et seq., certifying to the proper authorities in the jurisdiction in which the Witness is located

that the Witness is a necessary and material witness whose attendance and testimony is required

for the above-referenced Special Purpose Grand Jury investigation, and the presence of the

Witness will be needed for the number of days specified above,

       Respectfully submitted this the 7th day of October, 2022,

                                                       FANI T. WILLIS
                                                       DISTRICT ATTORNEY
                                                       ATLANTA JUDICIAL CIRCUIT




                                                           Bar No'/,'223955
                                                       Atlanta Ju~cial Circuit
                                                       136 Pryor Street Southwest
                                                       Third Floor
                                                       Atlanta, Georgia 30303
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                     Exhibit A
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IN RE: REQUEST FOR
        SPECIAL PURPOSE
        GRAND JURY

               ORDER APPROVING REQUEST FOR SPECIAL PURPOSE
                                      TO O.C.G.A. ~15-12-100, et sea.
               GRAND JURY PURSU.A.u"'\TT

       The District Attorney for the Atlanta Judicial Circuit submitted to the judges of the

Superior Court of Fulton County a request to impanel a special purpose jury for the purposes set

forth in that request. This request was considered and approved by a majority of the total

number of the judges of this Court, as required by O.C.G.A. §15-12-IOO(b).

       IT [S THEREFORE ORDERED that a special purpose grand jury be drawn and

impaneled to serve as provided in O.C.G.A.§ 15-12-62.l, 15-12-67, and 15-12-100, ta

commence on May 2, 2022, and continuing for a period not to exceed 12 months. Such period

shall not include any time periods when the supervising judge determines that the special

purpose grand jury cannot meet for safety or other reasons, or any time periods when normal

court operations are suspended by order of the Supreme Court of Georgia or the Chief Judge of

the Superior Court. The special purpose grand jury shall be authorized to investigate any and all

facts and circumstances relatingdirectly or indirectlyto alleged violationsof the laws of the

State of Georgia, as set forth in the request of the District Attorney referenced herein above.

       Pursuant to O.C.G.A. § 15-12-101(a), the Honorable Robert C. I. McBumey is hereby

assigned to supervise and assist the special purpose grand jury, and shall charge said special

purpose grand jury and receive its reports as provided by law.
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       Thi:; authorization :;hall include the investigation of any overt acts or predicate acts

relating to the subject of the special purpose grand jury's investigative purpose. The special

purpose grand jury, when making its presentments and reports, pursuant to O.C.G.A. §§ 15-12-

71 and 15-12-1 0 1, may make recommendations concerning criminal prosecution as it shall see

fit. Furthermore, the provisions of O.C.G.A. § 15-12-83 shall apply.

       This Court also notes that the appointment of a special purpose grand jury will permit the

time, efforts, and attention of the regular grand jnry(ies) impaneled in this Circuit to continue to

be devoted to the consideration of the backlog of c1iminal matters that has accumulated as a

result of the COVID-19 Pandemic.

        IT IS FURTHER O...'-!.-''-"-'-'--'.,_,Dlh_at
                                              this Order shall be filed in the Office of the Clerk of
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                                       --~ ',
                                            '-..

the Superior Court of Fulto Coun;,°'·\             '\ ..

                                                           ,,,__........,___.,,___-+--~•2022.




                                CHRISTOPHER S. BRASHER;GHIEF JUDGE
                                Superior Court of Fulton County
                                Atlanta Judicial Circuit
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                     Exhibit B
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                       OFFICE OF THE FULTONCOUNTI DISTRICTATTORNEY
                                   ATlANTAJUDfCLA.LCIRCUIT
                                 136 PRYORSTREETSW,3RD FLOOR
                                      ATLANTA,GEORGIA30303
!!};;11 Jl:=6)j.(/i;,j
                                                               TELEPHONE404-612-4639
District Attorney



                                                                               tDt2-·- f.X- DODD/7
      The Honorable Christopher S. Brasher
      Chief Judge, Fulton County Superior Court                                  FILED IN OFFICE
      Fulton County Courthouse                                                                           J) ,
      185 Central Avenue SW, Suite T-8905
      Atlanta, Georgia 30303

      January 20, 2022

      Dear Chief Judge Brasher:

     I hope this letter finds you well and in good spirits. Please be advised that the District Attorney's
     Office has received information indicating a reasonable probability that the State of Georgia's
     administration of elections in 2020, includii1.gthe State's election of the President of the United
     States, was subject to possible criminal disruptions. Our office has also learned that individuals
     associated with these disruptions have contacted other agencies empowered to investigate this
     matter, including the Georgia Secretary of State, the Georgia Attorney General, and the United
     States Attorney's Office for the Northern District of Georgia, leaving this office as the sole
     agency with jurisdiction that is not a potential witness to conduct related to the matter. As a
     result, our office has opened an investigation into any coordinated attempts to unlawfully alter
     the outcome of the 2020 elections in this state.

     We have made efforts to interview multiple witnesses and gather evidence, and a significant
     number of witnesses and prospective witnesses have refused to cooperate with the investigation
     absent a subpoena requiring their testimony. By way of example, Georgia Secretary of State
     Brad Raffensperger, an essential witness to the investigation, has indicated that he will not
     participate in an interview or otherwise offer evidence until he is presented with a subpoena by
     my office. Please see Exhibit A, attached to this letter.

     Therefore, I am hereby requesting, as the elected District Attorney for Fulton County, pursuant
     to O.C.G.A. § 15-12-100 et. seq., that a special purpose grand jury be impaneled for the purpose
     of investigating the facts and circumstances relating directiy or indirectly to possible attempts to
     disrupt the lawful administration of the 2020 elections in the State of Georgia. Specifically, a
     special purpose grand jury, which will not have the authority to return an indictment but may
     make recommendations concerning criminal prosecution as it shall see fit, is needed for three
     reasons: first, a special purpose grand jury can be impaneled by the Court for any time period
     required in order to accomplish its investigation, which will likely exceed a normal grand jury
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     term; second, the special purpose grand jury would be empowered to revivwthismatter and this
     matter only, with an investigatory focus appropriate to the complexity of the facts and
     circumstances involved; and third, the sitting grand jury would not be required to attempt to
     address this matter in addition to their normal duties.

     Additionally, I am requesting that, pursuant to O.C.G.A. § 15-12-101, a Fulton County Superior
     Court Judge be assigned to assist and supervise the special purpose grand jury in carrying out its
     investigation and duties.

     I have attached a proposed order impaneling the special purpose grand jury for the consideration
     of the Court.

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'---mstrict   Attorney, Atlanta Judicial Circuit

     Exhibit A: Transcript of October 31, 2021 episode of lvfeetthe Press on NBC News at 26:04
     (video archived at https://wwvv.youtube.com/watch?v-B7lcBRPgt9k)
     ExhibitB: Proposed Order

    cc:
    The Honorable IG.Inberly M. Esmond Adams
    The Honorable Jane C. Barwick
    The Honorable Rachelle Camesdale
    The Honorable Thomas A. Cox, Jr.
    The Honorable Eric Dunaway
    The Honorable Charles M. Eaton, Jr.
    The Honorable Belinda E. Edwards
    The Honorable Kelly Lee Ellerbe
    The Honorable Kevin M. Farmer
    The Honorable Ural Glanville
    The Honorable Shakura L. Ingram
    The Honorable Rachel R. Krause
    The Honorable Melynee Leftridge
    The Honorable Robert C.I. 1vlcBurney
    The Honorable Henry M. Newkirk
    The Honorable Emily K. Richardson
    The Honorable Craig L. Schwall, Sr.
    The Honorable Paige Reese V/hitaker
    The Honorable Shennela J. \Villiams
    Fulton County Clerk of Superior Court .Cathelene "Tina" Robinson
